                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Aogrzun Smiley Face Necklaces, Paperclip Chain Cute Round Stainless Steel Smile Face Pendant Gold Y2K Necklace For Women Girls (Yellow) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Aogrzun-Necklaces-Paperclip-Stainless-Necklace/dp/B09C68YXPL/ref=sr_1_77

   Collection Date
   Mon, 24 Apr 2023 05:12:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ejxPfbmPmhcHPJjfEDbld7+1jY+EioVJN4wBBwiC99zehn0M8nrj+Y5Hb7NXo4J50GAd9gJcirscW0FHfg3GYr4nFC3ubFLA0bNu/whXxGl0bGyA88MZS1NINhYZOTR/nDZ+KHmnIe2hOxYCxTMuOhgo04qsY5YiJk5n6sgXFYw=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aogrzun-Necklaces-Paperclip-Stainless-Necklace[fs]dp[fs]B09C68YXPL[fs]ref=sr_1_77]]_Mon,-24-Apr-2023-05-12-14-GMT.pdf

   Hash (SHA256)
   774da7e43eb79be3eedf90943be80c1a3e346609f258814edc4243887465fe5c

   Signature (PKCS#1v1.5)
YVWRH63vWhUpDcOL4WeWc0ez/Xp2TwsWTPVNmmRpHBcacrL1YvPA1TMZraa5Q2yqt9x7kkXu8l+0e5NZjbjEcc0q59JVyDzGcVuTBJ+MMh9a8/JqAh6+SlcWx9mKqvAWB6rBXiuYpUNxN4r7Q83wmjZi6452wAdwdaIzPCNtPT4=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 13:25:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OKMPNjyVEmtE10HGoKGClX0CHrfywxEO33VXyQY3dynm4YPOLm4319gl6fukLWMEUZw6KNF9af27yLacFHu4nHa8yOjGh9kY+jwgdRFwFtWeI83adtSFE4LnM3jh+7tstqxyykH+AEkzd4HsIYT7m9XUH/SrvgInpuvN0a5CZsSJatKrbaaglgZsC0Jl559ZkMpG3jPkbPzKvjLOww7rA7mScxY
   +d9Ss1GbRlzGfsvTwYHBHk+C213Or5x8YzQAaYKaxuC6W+Gb/s/qvhLEWQ6TriiHpSu6YEApzqZPpreJQ5kb7aN1RLnSLZp6MBeA/4OQ/ggpq7X+brl0Cnkpsng==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-13-25-42-GMT.mhtml

   Hash (SHA256)
   0b5e0a2a8d506af1c0680c2f4283d2ee68b97f3034b09aebc134bf6ae57a054f

   Signature (PKCS#1v1.5)
czVGVOt9YUw4dhrNRzPyDhTQzXtdClLWVi7anIRp9IoqbirKl7w7czP9sp0DP5NLG5uW1xT3djQ1kCQIjZjFWY+OaEDQFhID75DsSw726UGIcvJVwV83mY1nvGBXfQDE4mTuqaH1c7cJMBayvsTc+8JHgX1sAIqiM/+23py4x
+mdfdyvr9HZVQAok8E6mJQRJXegBgTbQ9h0f8ErOIkXYpjpIn5qEWdHAGm2Vt1oOBXqwn0dw7Ofn5n/3rS4lPwwlUb0rR2fAph6fS6slRfRGGxu2uxp4WnvguAZ4XSvOP3ExU4ypgoAR5I/M+P6aeKQpzknVMqQdNIdFxfiFMZODQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ANEIMIAH Toiletry Bag for Women, Smiley Face Makeup Bag Y2k Corduroy Cosmetic Bags Aesthetic Travel Bags Cute Purses for Women and Girls Brown : Beauty & Personal Care

   URL
   https://www.amazon.com/ANEIMIAH-Toiletry-Corduroy-Cosmetic-Aesthetic/dp/B0BRVQDHCV/ref=sr_1_9

   Collection Date
   Thu, 20 Apr 2023 11:20:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pPXafAMmaERA2fp06xR1LWKdNEZsDZYWqASMtqPcp7jWIiPXKNqsSgjzX0FxoidB2zNYErOXEBzgS4pzYvhWC9ezrF+zY+ftDwNC5vFofKPCTT+jiNnWJfyfXE+MXJIrrwyT2ZFgNij+cJKer5LRd34R6FbZdZatqnti4c/SA7A=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ANEIMIAH-Toiletry-Corduroy-Cosmetic-Aesthetic[fs]dp[fs]B0BRVQDHCV[fs]ref=sr_1_9]]_Thu,-20-Apr-2023-11-20-54-GMT.pdf

   Hash (SHA256)
   68fec859b3c3ee57670620d832ec751afdc876a3c9ee3eee4e057a2d9df555df

   Signature (PKCS#1v1.5)
pqs7aI4Dyb5j4Nskn4LVbKg4wnwThzJZePVkLZmwiHM4mQKtxycNXBQlWNP5am6vdG/QTv9jig+ERyF2uC5IklQVqLvBvTqZhhZwuTPSG5nNvIwzHjIPTDSTrVxU/k0+coBuAODydcpm9nqrXjZig+52OHERy5jmOGIewSc2vE8=
                                                                                  Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 13:54:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b9am8gEVEZvRJVC+BPAoXFjpE3A4PWjzxwhfyEqL1vhjxlDHMe3Qvz6ttFrrNLInGqPr3seBf9o4Xz1fmrc679xruF+GMQM17jJ3UUSKDtSMjqT9ykfbueq3JILsL3EuZ9FX/K2p8MJre7k8Q4pVMEP7q1kcBRoUF0lcOU5JfGu+nr+nsxIGXcQkQS/kTr/NQUTlqgV0xHe9UVSA+t+XqynZy
   +LtQ9RgXYA4sK9Ok3y2CXdOyO5dsDnufeXnOUPxIo8+5EqtX6Pcw12Vaq3aRv0ictOOujNV3IieA2BdPImlSFS0t+pt5a2DolSuiNzHuacXyfMF/xnJcfyxHmSZQQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-13-54-20-GMT.mhtml

   Hash (SHA256)
   c3958ea4073be5c657ab7f2d1fd0aaa4a265c3ff52916c823993a989b97a8ca9

   Signature (PKCS#1v1.5)
Bz9kDkDcSdBKkE9dAI6wkqDWnD6TVzX/LK0tDzS4uMrcoZnROic3UxwrCPz3Aq94bVqHYBsArUfsqA2b/4BWW2bXJkwjRMx5jODh1DeCyByN3q2YpaNUVW0sBbhpjC+ILlLbfKWf761C9vBHJosEaqZF364AxgRAXIAQKHiodNqzJl8wuJtBMFUMT1k
+5yZ690PLqL9eBHr4eRBoFvVhDScSzXO3Nff4+xA0OBQQ4WFSrYz/EQM3oRbSdoxx4nCMDlO1ngnPGD3NtqDbigsO8ehFIsh+XJA74QVpUIXAOmjbmZ3Z94gp7BL07YTGxmDWUtqsBjAal08O9gHUpzSDug==
                                                                                    Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Fashion Earrings Women's 925 Sterling Silver Cute Enamel Smiley Face Cloud Earrings Girl Exquisite Jewelry Party Banquet Earrings Dainty Earrings (Size : 1 Pair Golden) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Fashion-Earrings-Sterling-Exquisite-Jewelry/dp/B0C1TYKDQC/ref=sr_1_168

   Collection Date
   Thu, 20 Apr 2023 06:17:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KVV2Lzzsie9oFEDgvjqb4iRO6bmLY47Frr0pn7xWkqvxVqAYUVWK+BrxFXZAr2aV0V1nb454jF+dUBSSuB2mW2svXVO/sYokCrXH59QLgCIm8WhJTG5zvgp0U3CFS78SD+gBDFUd9DV7KREfPkljKQduLDDWebR3g3F5wnh/22Y=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Fashion-Earrings-Sterling-Exquisite-Jewelry[fs]dp[fs]B0C1TYKDQC[fs]ref=sr_1_168]]_Thu,-20-Apr-2023-06-17-42-GMT.pdf

   Hash (SHA256)
   9cac12e2be2186e0cf1d5264324c1ab902991976fadd10bd455ad70228f1198c

   Signature (PKCS#1v1.5)
NkZFacIPs52jrb2ZICGuIv/v1WA/OaeJt7k1cELl2NsRDbowurzj0HAZoy9b74akCcGvuQrFdbMQTwE6PDxZCsAntgbjCCsJFBfgvG6vvn2lc38YV9H0lubMh0gZ4GDKnLug05ZbdACEyhIu2WNHhkCsBAsywuyYZ0ebcrWZJdI=
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 14:18:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TdZK8M29lIruB0kf7M9h0dCjpjU3R+QKp/KBD2q1ltVh7E1ajN2VH9ocT5OrHW5pxEwGDfEev39yW3djod2bMx3Dj1tDZcztJ6nXdcoWnUpVJ8T1/uP3gczsEWoR1n8EaLSKNqmu6BbKinupT2S/VqljQPnEBKUwo45Bks4y/zGgwnxc57xWNQ/i/wgr88atXQiYgqIE6pP4cp2umXDZfB8mlkG6zX
   +3yh9Y5831SHreU7QzKBQdZBKW6ZdFDj/oGY2ldwB/AGd3e5EYIox+WaFKZ6WnqzsQCc+84jRwBUT0vhJeTLUndGFaOalisTfbwMaz8Ww0sI6MqZES9v8CJA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-14-18-31-GMT.mhtml

   Hash (SHA256)
   87032cb6a560233b997216463e2451cc26f3e87106c0b00071bae6defc1ea744

   Signature (PKCS#1v1.5)
mQR9Vb57k0Lur0wts0Y3lEAE4swmVFsHqNBQvo3xXG97rVs42/Td+trdQ/j1aCcXiziSme8Zn49Ct2yQTZgyQuaQk7fC/UwrBLchDxtegWMpCZpZduP/1KSruJNZP2A+KXkPsFOZLVk0+1mppgLrFCwCl3vLE/4+VEDR2TFur+CNHOuaheOhjFQeCwP23ne4KsS5Fp92jJCxkw/
BNtkZ1ionI3QSskbbMNuPwMfAYg1Qh7w02IudRkwMKiw+RRjiQdgeMRCqcaZJ42Zg1UbAcQo3a2E1Y13wDJ9sCEEv3OE64KwOTiKZXhswdQqE7okjHL4yoAjGNeMQVGgfPAvTzw==
                                                                                   Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Its Me Hi Im The Problem Its Me Shirt, Smiley Face Shirt, Graphic Tees, Funny Shirt 9 (Black-M) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Problem-Shirt-Smiley-Graphic-Black-M/dp/B0C2V9KYLQ/ref=sr_1_292_sspa

   Collection Date
   Wed, 26 Apr 2023 06:09:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K2X4pI6TGbrD0ohUStnrYwszvgQj/BUSt9tHBQDUSJBVxq2uhiY3ZyP4h7YL6gFCLqVDLj44S1byKgqcADyThP7AdqyP3N2I66md6sO/efN/J/eR9ZAKh5b08esbeY6jYYo+1/h743R/IIiF/EZs8Ip6cfhI9yDgsvFUmfma7iw=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Problem-Shirt-Smiley-Graphic-Black-M[fs]dp[fs]B0C2V9KYLQ[fs]ref=sr_1_292_sspa]]_Wed,-26-Apr-2023-06-09-32-GMT.pdf

   Hash (SHA256)
   54c7db2082d12f453b4b5864b61de2c55cb4ef8806c85afe4a694060151d2775

   Signature (PKCS#1v1.5)
i0BBpRaNC1jgC+axkatWdmlVAkD2yI0MxjC7yTihANRTprlUrTE3rsOS66aUtzJXojtWrlFMU+c1Wzr9RIsn9zeUX4FdaDzMWHUXOB79yaQVWuVG6tQojfeDZmFm/60gsjN6fTdJa/D3uPdwgLBszKkvhqlW0ksdzxY2ihP2RLE=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 09:45:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VT1H91zy1HnXk8vPd7MuuKK0LoA5u3pNdiyxjpdqS3OYkKn/q5bWVu5KUo6WBb0yuV5tNIvMkocbrRkot9zCZ7BaT1nIAW3bxAAaUIrztXUfSNmCW35o6/u+XTre2JGf2FG+U2NWoxl3NaLsK5YIlowkSLWhCaUAfnb+aEktgFMOJwRMpMSjFAKJ/SKTzxbfe+Pp4iJstZkfRWHHvSmLECKyB
   +WoDI8+TWN7z/eQfHEk3Fa2GyLmx1Yn3x2RXV1Fpa+tmLhtnFupx0+OopK6dP7Gsf/ptUn0MNVfiwRinUi/x8dQEkRDsgbp1Ro2zFEgZvJoPX3yR0T9jsUCiuOVAA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-09-45-26-GMT.mhtml

   Hash (SHA256)
   de849f490927bb489c88fe05e00cfa13316e1c52018fe7bda34f572311b4ab29

   Signature (PKCS#1v1.5)
EyTpa0KxqyCeQA4o3ZbwnmHyXY30GjUksvUzl3ppXjF+7aT4SwH5HRWvghPDSDZbAdvwJaJR8CtAsX9vg7vtfe4/KYqpAD4+qkg4xCI3Kh00mYNc/fjwsnYWzY+Sdlh5FqQrMqJuFX+To
+f3j2BvU1D32av2eA8AwSRaXxH09SuYieqwmZEMpSieMKkGecKpSYOrchyUit2iazJDShffJaNGCS8cUbYeGs+FdaVaB4r5obd9PY4LNbYSb0s9twI0pcbr9+ajne+KuV7H4L3cPV6pSPKZmFe9TKBLMz6QkJz+V1bV5MsAG2D+EeXdyYmoQERAIAFADlTW3JAYAN07Gw==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Ckysee Smiley Face Necklace,14K Gold Plated Layered Paperclip Chain Necklace Cute Simple Round Smile Pendant Preppy Jewelry for Women Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklaces-Layered-Paperclip-Necklace-Pendant/dp/B09BFD7YN1/ref=sr_1_561

   Collection Date
   Mon, 24 Apr 2023 07:46:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rOBF4nosIg/6CYAqwljjgWRMZCITQiUSriBiOmEHI6U/WORT6jhuzKDjGPlVVw8H6ojSmMLc9xQXOqcxoUueGwrXrrfhJ+i6YRrbNuMRlr/MKYq+43GDpYa1wGBlwqvnc2V5CKOxkUmBy6aNJ9GrF3H+19/72hxP+eEwhw+LmxU=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklaces-Layered-Paperclip-Necklace-Pendant[fs]dp[fs]B09BFD7YN1[fs]ref=sr_1_561]]_Mon,-24-Apr-2023-07-46-56-GMT.pdf

   Hash (SHA256)
   be410113176159dcd3d45e2f2d15526c876c7f8beca8e90c855d53a38b3be907

   Signature (PKCS#1v1.5)
bkZnegXohC5w1McbrD16b3PY8lB2JLKNG0fpAnD/Vi7dXNbWzCV+FmwxSxFF3TzdrDPAtazL7EudR5kDZLVyCIPBcWRXJwDdeWadXs+109vwvFqJZJl5Vln+l9r1jQ+Ag4MTjw+Kk+ld0T4gkuEb0btlYxZGePxuUZQ5uz3JXlc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                 Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 14:14:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CfY/jduf/QcLJVKhCG5pyIL4hw4qG1oJXcQ7dIoKicgiv+r/iHp3lIiZW3qt+1+KTOj8XjTzkAsSm4b/mL6JcY9QCcEyfZwj7gpgdnp9s2Xccv/Xr0JWLh1+1R3aUd9+q2XP4V2+S/ccnVd14VIngcyHTxus9RMfEHYz/EECQf2xZomPrlY8StzjhoO
   +1i5itbPnXq1DsKn91yVCqVk2nbofooM1gtuUdPyDY1Exo+g8mKG2rIWoOnomM9F2qOcHfP0aoV3YZ83lvRvUZ9FrxTCnHynSkrYooiACqy0EiZMlFvQRsi1nzUVLjeIB/spXy7tzwgRGh+mAG45I3REt6Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-14-14-58-GMT.mhtml

   Hash (SHA256)
   a3bf723d3dffb33dac6abd67552524489cadd0bfacd2a28aaaeb8c1c65589f19

   Signature (PKCS#1v1.5)
UeirBw4c3z1dPBX3N2fJVA/Pw02q2nIPincYbkg+u6sfmBjRl4yT4CBiruxHmNqF8TwAwonsSe0t2DDgy2sguG89W3/4kopMadZhqTsXK+sql6kBKKq2DENPmNrkAqMYyzzFHehP8FWWFBCKE50GAuo3JkFXmjLSO4XzAS/r8Rzl/
lmyUSFWuD0qLWDqukAjV5f7mvv0X3xILtrukKu9dWVFIPbQ0RNlAE2yfceTx8zKP/1UwQshD1C2brS3zUV/uFPLxyfW2zJJ8oseBp4Ey+XSWj2NiYbNs0N5FsehCXYpHKLGU5jhkWIp7+quixaIpyPlYRq+U1Xz2ic6LnBFRA==
                                                                                  Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 6 Pcs Smiley Iron on Patch Applique Smiley Iron on Patch : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Pcs-Smiley-Iron-Patch-Applique/dp/B0BBDCPSJ5/ref=sr_1_105

   Collection Date
   Wed, 26 Apr 2023 07:43:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ar3XsqAj41RFzxJeq9AcE/yjMKHAvhPRguSyHw2gncJP8WrIVN0KI6ASiygcWlbiJ8bf3itjzjO12fr7sZZUBEOJ1bnNggrzbT2alay5lxkOAJ82rwdVbR6WfPzRWWPOucqB4dczZwtmC5wrt1L80stMbhWUKJqLS0Wa2CIPIjc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pcs-Smiley-Iron-Patch-Applique[fs]dp[fs]B0BBDCPSJ5[fs]ref=sr_1_105]]_Wed,-26-Apr-2023-07-43-29-GMT.pdf

   Hash (SHA256)
   15b7075e6cae06eede0680cd9fa57fc65aed7c304dbb3d0d927202fc95ece54e

   Signature (PKCS#1v1.5)
XC8dH9V9ee51nGMKmMBWv7Fd65hPvJ2+d8K1jx556Z/dRkgyYfO4GF/gU/8SSs2ReseTm1nc69PigGtbwEY0X68s6sCC7h5LmWfH7xSqPiAfPnHo6aGTLj4cPTKamod/jDKK055K4NfUQ3NBR3eh5Xz+9TAdwsPjB2m0Owl4e50=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 11:53:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Bf+fVUF+b56pOyDFyM7RSen63SXIeZb+9JITV5mkAwHtG9Gl3X/1XGABP5xnFF7VxfFKu/Xn025/kvREqhyDLFsq6cDUoAoz6hPv27Nx9kJKbGA5Y5LTmNLtelqwBou+o/wD+n+g53PZQ5+UvtXLQZIe/ndtjoSYo49Dfu+pq8aWR1bLcLY9GG/jYyjIXzx7ik3mKx8zD/QYp0iUD7LU18jmtT/
   mXgZYw1T7Llvox6rHG89Vo57feFBMZTjHgE5QkWd9Sm8o3mGypEnQSqU1rJiedy/INck6gyKR4k2UUw/rPvInoLDVdLdGglKSilkUmDe2MfS/KQy4UJS9IifIhQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-11-53-41-GMT.mhtml

   Hash (SHA256)
   a1992389bcfb0e316d8bccb630a4446249b974be5c758444a27f5f7c0ec0a406

   Signature (PKCS#1v1.5)
Zy1Fc6Ve5mVIXXZC4l3L9odgfeNYSaMugpAGaphGmTaq9jdXm1GgkGiYop9A5/T95Wu2+ZWolApquxNFKVRodwAqxBac4pNAbNiEaqmLRXgzw8V9o76clRFWbamXZJmJo/Ax0wAuR6Fu9edmJTKMZPWvN/9RchhY9A5ay+DWVlSjG/rjeOgL/HA+uTGGXu62cqsLYZQh1Ao
+XYwe9oILDU8NGLQrDyvLvC5dt5bhPJB4TnAdMIrphCLpB8fvnxeEGb1enTuoTXUXzFmADQmdhBw3VrEjTCi46TUNqxHmM953rAaAH8xV2f1IEdahTgzv8o1Lk0V/smspZr66sKQHpw==
                                                                               Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : Corduroy Smiley Face Makeup Bag, Preppy Cosmetic Bag, Travel Makeup pouch for Zipper, Aesthetic Cosmetic Bag, Cute Cosmetic Bag, Roomy Makeup Pouch for Women Girls (4in1 all) : Beauty & Personal Care

   URL
   https://www.amazon.com/Corduroy-Smiley-Makeup-Cosmetic-Aesthetic/dp/B0BRWL83ZH/ref=sr_1_121

   Collection Date
   Thu, 20 Apr 2023 11:37:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bxBaA4vAsxmA03Ji3XkpU73UTNo9tlCg8honU9Uu+uqD3Bx4rFkigoTqizMpwBDIzVbIrQnTMpV/A+J4X89nUMUtToMz6lxmnFw+C2K2hsHJpgg4i6K3TGL2+3c51wuwcjDjM8aAcjEZxcITCX7+7ViGNLoKMCG+nXeVJhx8bUs=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Corduroy-Smiley-Makeup-Cosmetic-Aesthetic[fs]dp[fs]B0BRWL83ZH[fs]ref=sr_1_121]]_Thu,-20-Apr-2023-11-37-43-GMT.pdf

   Hash (SHA256)
   6004b6c7e9f2a77fefce6c12063730ef265f7d1636a6f39c3c0c987bbd3b75dc

   Signature (PKCS#1v1.5)
QNG2rkSQEKMyrV28KPjP/3h5ehfiBzo2D4MhE1rrz11HKeethfMJCTmAnnWzs6wVBeRK8dxwdKGe3+euvsOztDsA/9+bQXVDqtq8GHnVdB3it4gnx5Z5A224xjO7tmQHvCe64lzo2rwK0CsjYRSfDAD+vq3QbWZhzjH72PCYGyY=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                                Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 07:20:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GyT3KblsiAF1yfkn2cztpQiwlEvRq9gX6mL3Z2W1ord4gF7Il4usniHm9rcbPG4ieOeVKE/fojmE7uLnNfnuegmi/g4cJBa6jOAKl4n1wL0H+6j2IjwhdENtBF1ZBkAELmIEcHvg66tBj1uj65mmS6bZhR63mvKGeanJQTh8ZkjojitsAdbqNltNilcf96QCparrrokOiEAn3mMJ41F/
   pxISIRwLpfbVOJ0jGFfWObLIXG+1yhcQAfP3XKMYyjxO4kb6MUFFr1zVfcR8QTGQm7QtmEfuvMPFIt7P/6eKvMwXPIYwLU7R0DxzRy7HGs72EsESFG1GAwhe+HglEI12pA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-07-20-08-GMT.mhtml

   Hash (SHA256)
   c717728de8dab03dac5d6dfd107aa241b71f67a0802c88a8c462dbd70a5763fb

   Signature (PKCS#1v1.5)
UoJnIk9ll0MzZZ14BZE7WGjyM5hiTIVpW/ump9JPlcIXWpDKwaMCGIRVvQV2YBTJYw3GhWgVel4IkaLlNC7GNTiWFXidx7SUfG/QzTv95vQhukXLzYU3svbvUv5w0qXCw0YYg29t2FvuxrAogTFc4hdBsNNX+5/oVn4x0VBv8vvgOmt4m790tSEVdp1LjzeGFtuBn
+wIo5HiPJBAYGR7DF4KHAYlaYmJrpkzlzrCaQzMIJrYFiy4kqvlTTgxZK7mdUET/BqaQO0Qf355a2ae4DN/b4x2Y1bEcXyBZprvC+GqkwEmlwCtWuCZ6TgwgRKwxHByG4BA8/9LMLTxULpbkA==
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Cute Lanyard ID Holder Preppy Smiley Face Badge Card Keychain Y2k Aesthetic Lanyard for Teen Girls ID Badges Cell Phone Case (Grey,Lanyard Holder Set) : Office Products

   URL
   https://www.amazon.com/Lanyard-Holder-Preppy-Keychain-Aesthetic/dp/B0B1YH5NCM/ref=sr_1_78

   Collection Date
   Wed, 26 Apr 2023 08:19:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BKFcHCnRl6x0DCkgSJKCOzRnMyx4HvHYm6ZJLIBNkZKhm1F0m0eggCqizsMEmB8lKFEf/io8JNDVbMpgh9zxca3JE/yxdpI2+fNsQLDc5zuY5MrwzA76k93sv7ZfEg1M91Yk+9YcBGqVxmu66sVeYp0/cQaxI9aWqPSo+FA1Juo=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Lanyard-Holder-Preppy-Keychain-Aesthetic[fs]dp[fs]B0B1YH5NCM[fs]ref=sr_1_78]]_Wed,-26-Apr-2023-08-19-07-GMT.pdf

   Hash (SHA256)
   4d6bedee9176a86cae15ca9bc60a9a8b7a162c91dea2591b3b6eab0c0d0ae9ca

   Signature (PKCS#1v1.5)
fSOIqGx9264LZE/4upqaHA3HXpBldHJMeymD2M6fMj1O+pZCjapaMBR69wjmpXX7yhhGbUJeyIjekV8U5I/nPYbSHu72zrDvLklq4E1MGnTOZYFOAMQ33ZImOWcV15pyyagMj9ao59LPORUAVAAUBEcOFSJMaIG74sf5nOjWaRA=
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 14:59:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.22

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VeHHPJ1OHMl34YpL5gOPV5MjRhJCZTsPvUx0ig4apIIyrr18PC77jhqHeTK8ymE/k70ZDu2GyNl49vT4C1k9yVIr/cFotCbRDnmJ0hio7FJM+JEY1UZM68y9ALKAQijwG/bbaQEk42wa/dFypSZXms6LzuhX7Cj3axKmna24R8EECp079itbVewgErKVHxma/TwvX88LYrxrZQ0DUbkQ5DeLpUlrV/
   i9IJuvgpwVG8YAaUgGE9kjpLC6EFOefFdpbp6Y2RzISJJniT4uXXQAitSToYhQ7rMDjmCXedFtdvVbD0Ha2QKexpegefNdOG+RbmqiW9wx5URjs3PAPsQWOA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-14-59-11-GMT.mhtml

   Hash (SHA256)
   fc89393acb74822743cb1baba6f65eaf8845983671e82e95d8e2bd1991b945f6

   Signature (PKCS#1v1.5)
UbLXEfXnmY5yIKcxmKhVHpp06clJ5xcLbysVkVScWnlQ5VhVp+kT6qlS60Tg7C0VWbMJ/PseSyE9NofdEsTML55uDk5iLP/neE2UXmBZFDVS6fKCFOGxDl8V6LWKA1V4ewLZyW0KC7MdZr39GU89Ukz/LA2QK7I9Z5jt2+pyDAgfDiB1KlvdNK8xrrLWyH5yE5JJCWIk4Poz3GDINS3/
jyLyWUb2CVgyEL/2rcmTT3r5jdqkzr7RF0TIMmX0SqJ6tE+lhJ8jsvYr0vmKBPwB5gr3CdPEeeQHk7XFtLWD4ZKtokWVN+fxY22E49IOHWyZznq4i/v2Bf0Ez1/FedMLGg==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 09:21:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nk6hpXKlxEdlgJO4qFKMl5GV84kBKfPrDeYyD50HirUsXibM6Zp4WH+CxBVmkEJN7TYZCtOswYSb23tbnPy6VI3srDaYFSaoRff1O7Ue/0QXJFG2xnbDlyC7UoVvYjF/+d8aLQELn/Ay9ErL6OeNx3+Sob6R1/b82zdByeszL6A22ZyrVCPhYmuKT+/DMELvVuooFNbpqTE0RO4z
   +zoblRmJCeuMaevO2GjWX3RInDnydDSyJed6V+3kOIeqyVLiTb34v6EmTcde9T6/49VISVT0YneTW0F9tw6zaYMHngfYrNioYTR+HBu1wm0JqnFkS0UK7MEHRNq3uKmxFSDv7w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-09-21-04-GMT.mhtml

   Hash (SHA256)
   e0d9f8ab3fe878b739ff1fab1b012f1261f30e26d097468898c67f5d3a8b2d25

   Signature (PKCS#1v1.5)
MV9VA9Y5e2yHl8hhiCHeRtuvXQ2O3IGU4SdL0R02TeDHw3oUMp6Fb0lC9q5boS9J3BC3ZLmM5oS4BSCoXdSJrFHrIcY9kcCalG9Hq86EFuRLY7gBT/adCWmSDJ/
B1+Z7g9oOIpn1HsgKzdZNZgX1g9gONnkzT7KNU4aNNo9lVhcmTP6aKehSRYA47YFchEoq3dCLkYXw89at12QR9h6H0whF1vU/YfF7BNmgHfMjVBEAz5nXSym9JsjTFf50NDORSf6LrM1YvGANUcE9J9P29rVUkrakQ4ivwfYOSRL0TH+mmRzd3/GbOB+bw34I0Sml73EGLswsd
+ao9TWzF7GlPg==
                                                                              Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Fretime 2 Pack Corduroy Makeup Bag Cosmetic Bags for Women Large Capacity Canvas Travel Toiletry Bag for Women Portable Bag Organizer Makeup Pouch(Smiley Face, Gray & Beige) : Beauty & Personal Care

   URL
   https://www.amazon.com/dp/B0BS9V6W96

   Collection Date
   Tue, 23 May 2023 08:26:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YzFT2OFznUxxdo0PZhPc1PBrqUSLLgdK8EsLjEN84yJRuQgHhEUsXnDhisDUhwtJkdy9K7lDHoPXbf6IWV11dQwEkSB19MM8O5ZfIXGY5eBYvWtpvTl3UL3BYbx9t0X9vj647yrQn/b/4UKwROMVz+fvgDzX7gOvRcARLBkfke/qSp+Icoh5Ygftq8GLmjdojNx+58gn/
   yRk72161TYdEt9GhfzjfpHY9m8lcPwo4NOGXyFi9G9IiTbIJXju9yjCUD6l1TqUHgKQ9Z6udB7fJF1cdHEW6D/X54y3Fzv42nc24OmQRUqU/yqX0AUcBbPErqGiKBoR/jXpzny1KWpgzQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BS9V6W96]]_Tue,-23-May-2023-08-26-20-GMT.mhtml

   Hash (SHA256)
   69ec5293d040c342d157c396d83df934b14f0c4d95d8b7e9f69d51243307fa0f

   Signature (PKCS#1v1.5)
AzMPdrhe5fUgjMGPBMRSL2GkW+Gr1LITF3SR0Ieojqy43K6AmS1wglstQ98E1llrqjrwmAdhOHyWbpavD41cAZnm98cIWUnaxgY92b62QOogMUtIk5uKzpN1uqeXHsTNSkphwfZKNPWLgwog2bbsAVUylFLQkHawQ6hidsM2tqstSWNR/GgW0S65KwAKA9HxtIWjS0mdiL
+MuhswsctcDMLJfYXTNJjqvOPCiokitf/HAN62rI2CyUrVxo6RHXphiDbkJ7ksRnwwtEbSyfntXPv0ol72ics1Fa4JbfwmmzbG8MXgL/Yp3pgUebfI9eMkb9B0XQ7kCOXiPzDBJ+AKRg==
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Zaxqunty Smiley face Flower Curtain Buckle The Little Flower Throw Pillow (Pink) : Home & Kitchen

   URL
   https://www.amazon.com/Zaxqunty-Smiley-Flower-Curtain-Buckle/dp/B0BVMS5SWT/ref=sr_1_194_sspa

   Collection Date
   Tue, 09 May 2023 09:41:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EDzqN50QGlHRYaS9h3DL+a/B263XSZlD6gcONXZlCHnqQD5OiV4BsdVGZlKcqFHKbfh8qpJqzfcogoGCeE1oHy1d3g014aIlaPHV3p8Kb7/KR8JLkD7qvV3nS6reIw5ttpIZwYOvqgoSIyhz4sfNmy6cbSXIGPKVb54ngdn4XEk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Zaxqunty-Smiley-Flower-Curtain-Buckle[fs]dp[fs]B0BVMS5SWT[fs]ref=sr_1_194_sspa]]_Tue,-09-May-2023-09-41-24-GMT.pdf

   Hash (SHA256)
   96340791ce3b5c17fc292262c4236fd1ea8343ec8c7a7d2086939971c2a9c9cb

   Signature (PKCS#1v1.5)
lE1pvqTBJjLngPETZabb2exauKyZ2fWzkrtYsXhZKh4AwdD73/l9HiuCCBlkMszp1QXyy4A/tJbsoDKNTCIJIq+flo0ocHZ078YApuAX6buNtXQC0juAoZHAFQyanE+a0pG4FoMlxPEHqJNyFBriF4dvbcXj08Wl7t46JQzDSMo=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 05:48:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TwPJOVr8skebCyOCDJ7I8Z9AtjCusdmqWXYQPhHDvZ74XRjCX8ijPx/xLkBiR/AHm1j2eL6vd2yU6S5KyrwVAOOdTpVvDHsQQoLB5DNgXKAREWyCb9v1+CmeIh3pyjM8W8l5o5XZCM8Zt2RZnUFSjxNyzZB2w0CN2GcqatAB9sEK7SCQfqwmdt4Gr/S3G8Fmpr
   +4VbecN6gLmOcLMcgtP6kvqJbFrvN0huY68hx9HnDjE940FZBRZYoCZFo3JWvkQEU4ohiWrrhu22uH2OQFiDCT1VfpkuLkbAuD5ImVyTuLHozKkuRdEhbtrQXbxBGA5tTPGCPo7xVzqHYBZzwl3Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-05-48-17-GMT.mhtml

   Hash (SHA256)
   de7c9db9f98ef17d7d7efb1c9739fc307bec43d2f668f9122254f70dcbc95412

   Signature (PKCS#1v1.5)
sXd8XTma8f0I2RyxE+j90WViNKW+KQ6ovqraDZnOJ6tkMX7BJLlxzAWMJQK0lfUcb3bDR6RDi0mTYMj4HLVnAz16zY0HIWZJKFvmxNxlpkVbYDN2QCyXqGs+3EBiSUlzgUTohoX5MFeVjJU9OqiAestfKi3+I7JJCfZuKxhDgxvMx/F7gwaCfndy6MZcXNMJorUETk4bt+vQC+qh+R9ALuy+BYUX7zH/
sgQwGxadQaeYeoNj9i6jlJqL320wigt+oOu+S0Uh+v5hVIGSIGZ/zVUeQlBeYeH1gKWvWGp8pEoFH1/x8NLJHwqme5/7FrP8k888K74RGKuxglmp8Btpmw==
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Zian Cute Gold Smiley Face Charms Bracelet, Smiley Bracelet, Smile Happy Chain Jewelry for Women Men Friend Girlfriend Friendship: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Zian-Bracelet-Jewelry-Girlfriend-Friendship/dp/B0BNPK1C26/ref=sr_1_183

   Collection Date
   Thu, 20 Apr 2023 05:09:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nnz9SBGFXLhYnQCljQ7KtSWBrz3OWLVJCpQx8OVWJNiZeWopLiGJmm1fF00WBI9SV/agR9nKWXEVETSbSgEMGeXWfUdWxUuMChZphL05dkqVT40W9AGp2IdcVMIAkCGgQcbXtwpaiQd8b8vgXvNoDGBqtmvqBWIkFAnAeBPEIWM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Zian-Bracelet-Jewelry-Girlfriend-Friendship[fs]dp[fs]B0BNPK1C26[fs]ref=sr_1_183]]_Thu,-20-Apr-2023-05-09-31-GMT.pdf

   Hash (SHA256)
   33e8b05091a86063048980eecd6cb41bee7547cdb20d7aa572585d62ee59fcfb

   Signature (PKCS#1v1.5)
V67CoQhUMuI7zASBnJJunZnlD/lBvnB8DhMAdKm42FPIk+6ChBhBZNJ4G00RUYhSESgVlE5Y2WxCB2VHIUSsYIJ03pKUhSCUnS5GEQRV7xwq/L4ltfmGcqDBUV389roYqSdYJahV6Z4RdEd/V+BDiZMum2/uewRLHC9mIqA6Wvs=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 13:07:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gdz8/6vMQ38GJN9rNbjM/vfcl0qwxKvrCG51cnI5GXgPNj6sdHKsOdOnneIuYl/8EtYV598rA66IBT9lvZlnqZ1D59rQD3oRqS6zHTOS30awlCevfm6WtzC4Uz1tXb3awONceAMBE/Pl6CjC95ajwNf206ZOyekmmSVR0FWsXxLN4ogC585Fu82NDdLecZ4BS/AXqT4lG0g/r6/
   Ug0fO47FCFLxdW7iR/LHZiG0cGEAbnVPQkvzOReoed2QDJgaigECJgbnnmmqT3GM9tXY+pGgw0ibA1nkYpz9AVutHF9AOF5T51swMu/cZmnMhcrVFJysA0nEa3b2mZ2gVzuPhBw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-13-07-54-GMT.mhtml

   Hash (SHA256)
   f21ae8cff9c099b7384d9df604e3a4941b23104ae3b382ab648936a5c96949de

   Signature (PKCS#1v1.5)
PO1IT/WzarJW8C2BaiRs0T+UiR0i6W7y4xQo+QBfv6VxEtxwKHUfTFMV0H39xQyQkdyvoAqLxqDqM/Va3ddq8ep/3n+PT2uzSUDfVNnw/xMtNm+JylDTBnJELyFoyfX/bOM9kt/NvmoLgoIBOwlMGMOUfl+wSwaieFhvsgfmLdb72skzqkLn/1K9xV6aO6XR
+fDBdjOe7wlxJuG0qqQCSGC9GW7nbF8uC/gBaVlEnyrdgY7NqrChtLHHFipFubrNjK8+zR9lDuDogv4UB5W9ud7DfqDhByTXHO+2/CtYQhFR19l/5FcCdMEdJmglouCE2NTVX9k7OWlnokYpVnrJ5g==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 06:43:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   W75aWPPTWxQ684eVb5VRwvOisG4d6Di4mc7VjPJ7bS63sXJ5hnSm6Po49yepnbXT5AqV+z5dKKJXciRKr4nwzBHLMO0nswio3NuGp6qGr6cLRPqS/e/8eVzQQoGKT45pt2Qd3XJH6GDczIKbOqpprYKwh9WOTCrCXwir91h8ev5NQdOlgEItwU1VRZuCckNWrLDsd/
   I4OPvFhQlby07MUSz6wPYS6HcvdKmmwblZ/ldTuiLmN98y1p/xHt6F1r/cc6ezrH825B9lEDouXULtdospiCxL4ejByeaO9YINV17Rj+GT9mCtU4uSvvUMx2WjY5q7SIjMIq80aT2qVO7iAw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-06-43-59-GMT.mhtml

   Hash (SHA256)
   2d8feae2c7b91644e51cf147f2e004f5eac0b3911ab80caff2ed01270201de65

   Signature (PKCS#1v1.5)
e9MlP9xIehrJ17e33iacaToZIDVueYlpQ4GweNXBE5kNfEq+I4rUeEfBJc5UTN3KeWtLdOVKYlD1KQ2NhtmzsIUzUQdYRMPEddyEDHPw2dBjdvG2komlwFiCkhzqSMQTp2q9Im7dBjdzNROjFJ+83aw8H9l2KaMzWPTUFbQz3vRGm8hOkNCllvpdc90S6v
+x9Thsz1jdDkABHXZrAy3AwLXIgTs8TubxY4m9ooQfj/oa/2jX+lLoAvgc+8aPCpYKmDxiyYYIeL9Z7q0x5xIfuf1eltAseI9r2cZyhAR7oRuAPxlh2ab+2t1A6rwVzIC7A9+hCxDRX4sbt3zdsVkdRg==
                                                                               Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ERWEITI Boy and Girl Peaked Cap Smiley Face Baseball Cap Adjustable Cute Cap : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0B4DQX73J

   Collection Date
   Tue, 30 May 2023 09:57:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HhHe3Zu0S8lmM+sFYknttCpTzBCgmkNDn2ZbZB4YmyYam+igTYWhZsvRZ0cGEt594Zn7rfANeXePg3cuwFJMfLEdEW6hGZDQOWwrxHbjTcX2dWjDYDXk7hSZ4/8+lN7BhpyTLdBfMLpFVMn1a9CtOlPR809lYqnA7jQotgmBP8d+Ye7Bnw8eVoCFkySuxFALo4xRkX
   +gQ0QKFZwb9Qxk8DdbYfDmp3nngx/B0N2eGkPB0ye0dWk0vCX1kQ+oucI0jiJBqWI/VTlp+Umi8O7hs2IDaBqq9ITS2XpFBdX1P6tjP+LU9pnLde6T16V95o6hldN7+brxJW/9jhDMvRzE6w==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B4DQX73J]]_Tue,-30-May-2023-09-57-30-GMT.mhtml

   Hash (SHA256)
   bbc7f0d9398aff5b7287557cb2bce80088d73bc7dd0ac4c30ef28cc0f486e587

   Signature (PKCS#1v1.5)
IMAtswtvSbiq8sUb7bAuUWHOlmjEXRTX3WNyxge39hnAzWeuPPWpduyidffjDflaGEvEEeP4VEkkSAWww6lob4KkSvQRhkE5yJt1q9wFYVdV8ipc6dlnIIeBO57DwgxgTMBcp90MzsGKRw1jsB/PQJ74Z3H5r7mXv/wqZO0/gDFgKxJu20Ao4aRB/MY
+U9qGx1oIq9eOT0lkzLzSofmZ7Mgag4z6CB3Wwy2KVMueVTI5DUrAE0ids5HNK3a3s31EZYM1R7ZcDz4zYoACDSVw6WtOTvH3X0F87BAK6Zxm0/iLRbbieuyFdAdVepuWEVyXaHuaoRKEamIWBhT8PIEiWg==
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude 1st Birthday Cake Topper - Smiley Face One Cake Topper, Hippie First Birthday Decoration, Smiley First Birthday Decor, Groovy One Birthday Cake Topper : Grocery & Gourmet Food

   URL
   https://www.amazon.com/Happy-Dude-Birthday-Cake-Topper/dp/B0BW9PDKRC/ref=sr_1_308

   Collection Date
   Wed, 26 Apr 2023 06:11:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IWTUdt22begXIqDhzMLEf7AHr9xBEUZu498BRnBdxzG5nVHuFjZIzp8RUOTNU2Qwr+P/vtXez5UVPQtLxJitZpfX6dYYNCaxO2GVtHhyMwdDfoLUylz9x1ED+/w18OZdSEIJWor9ohkdwGltS0cu/Ffbi8Lm/CEvnrV3jcW36uk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Happy-Dude-Birthday-Cake-Topper[fs]dp[fs]B0BW9PDKRC[fs]ref=sr_1_308]]_Wed,-26-Apr-2023-06-11-02-GMT.pdf

   Hash (SHA256)
   03e1266a736a18340be53d911f7bfc1898cfeb81af2aa56c22ad27411ebf1b14

   Signature (PKCS#1v1.5)
Wku4n7P06EpYM8vXbhn6DXQByQWNu+vEmizIHQMQqoBCQaUHpz1FuNEW7hgu5FQfkuEarKzuy5vcaj1fHPvqKfdRn91bvAk6z022xNwOVUFhWwTYIQZul4pDouAlfPaHmot+fGS9GcgABavwkT0K72k2ta61Wk2axBe+dzrjl6g=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 11:16:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NOkjOrAZwsVQ0hrtb5f0dxtrOUlQqKb9C0neemfsA0r5xrdenMn+amq9V2/oI7i3/
   roENRsw6FkA7X7ct3NzZzBHZA23cosyjFyyAfWmu94gA8vmUqbxgajjDO4DgGiBudwA7AryLTQapumSYxHV0NSBbUEq6KsWPaQrzku6b5kWMX0XhTrbTEgmqKI0FAT1zumoAGtMckq9DDqcV6deT8eN7DpjcdlTd9Ai5x7d3n+8OaoPsyoAWCsWf32JSevyRZeZJJ0pqRxPlkNqqynf/
   gakc7PnUSacSf9PncHD8KvP0C7IsdsDbJk7L1YXZgj0RUVGnngBxlL0Sf96KI++9Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-11-16-53-GMT.mhtml

   Hash (SHA256)
   d726b0b8cf75b5d3f28deb757f0b9c9b5c54541e8166d70d0476cde3742afa1f

   Signature (PKCS#1v1.5)
Q5s6GxdZTuQb6cpwOTHzmXWclAkmMUzgPvnS0AuBzAEV4Zi8iKHUPnnSXn+2n/g8QRVKN79lpR2Z27bT4ftb8iCC4NRrR2N4s8w/5WWycggnx7BUAsM76xL5sumjJNZ0TYgDCWX/DPmGtAKQBeb4Ta1XT7Wct1aocvYyCReEXvlRup4xU18NYJx6xpKmfQw8gKFIfPMXUHMKfgX
+8GZQ8Gx3xUcZpdzdvlybGi/x0atHJk9GXAxoG2YCt9D+ZhY4rC6mZ8Vl4RndPfrnAi47NHwK0cF089ejyxvVKgeacoUi2Y/zzjvA2kgc0fnxm9w4aBTz8TFtAFi3DjzCftTq3g==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Goth Smiley Face Pendant Necklace Egirl Eboy Pink Cool Smile Necklaces For Women Men E Girl Boy Punk Hip Hop Rock Chain Choker | Amazon.com

   URL
   https://www.amazon.com/Pendant-Necklace-Irregular-Aesthetic-Necklaces/dp/B094XYKJ97/ref=sr_1_133

   Collection Date
   Thu, 20 Apr 2023 04:57:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RZWNLQsjWuINsJ30ZAcjcZGF/84ME9qQfP4cco/hDjvRT5wcj4SAMsc5EiQc1QfOgtXZ/Q1S5H8yFToIVzAvUnO4FV38cPt/9LxmZqP1fgRuQ9XqnExSNY/rxlAKavg7CzbY0yn2JjtTAFjI5vQoUnWYSSztcR3Jnx7HpIBUYbs=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pendant-Necklace-Irregular-Aesthetic-Necklaces[fs]dp[fs]B094XYKJ97[fs]ref=sr_1_133]]_Thu,-20-Apr-2023-04-57-58-GMT.pdf

   Hash (SHA256)
   c5b61d23f494ce38e57e117c79eceebec6eb277935953f175a590eb4f935b1ff

   Signature (PKCS#1v1.5)
ZFyaD8EoKst5TdAoCo9Jnz8MwVQB2Z0noQpuz9zaxyojvWIdEB0cy7NtlgHO/Of1p11dPpiwI7IXq4S0kjJ22PoSAX6WBf/Bj2JnpA1Org8xWs3d0Sv80hk7H90T7ovyAdCC7+VjZrIddStJpFQegi3DRUInLXt98LGCxOVqb4k=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 10:25:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CLVf/YcGkgbOLZbv9ZklC9ZIpSVgy2Azaq+I1CktW1jX6icbbp70CK6nQBdaUnWiYutF4BDEN7txFfxGxSsvmwMPnBNWAOgS/4YxiQZ2xeYstlwc0LQj/xBus20zNGi/XPamnnvXK7YMUFhvlUV4eYIjNqSbROCAfZAsUauGhCYhDs9T8oYnph/WXmg3F8vwZVNNEy303VPEqzO5J/sUc3gn/
   l5l5F8wlFz6UwvxfIe6oA3KfjFkVwmfXtSHpa2PD8v1Upxst5OeLKZFcJahuN571VsPYowIUAnMrEz+/abEBm8Ere1/GJkTRu27d0IRPD/dYieZRLh0oLoS4uKWYw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-10-25-27-GMT.mhtml

   Hash (SHA256)
   655e49a540205edaf8c1623fc63c5ccc67144ed88bdf28f9fa511c8d980d78fb

   Signature (PKCS#1v1.5)
JGdWA+osyDuaCPGH3e1J/czCJRjBr8hR/iePHhNmf33KB3LD0G+wKQJ8HXwT2ERBzKUqn/de9zKRGigTT18kBln+yOYJ6+lYKfWat9aJFttfyzEvmOJd9VHvOqPKK79WyU6Vjf3njI5G9+q8Gi5TZO81+PBACAQqqN2m5Y4Vm5FSJoHmGvS6Rp5oBphoouu3mpRDBb05heRou88tMc/
nYEZR4plF5wZpHCE2R/EfRFBFcO9EBQSsgGi16gbsBit61ybOvw5sYvi2h+rvHVPv2HnfGOXEmSq+tPjvXuyoN5z+bEzCJXt3V7t1zNWGQA87Q3+0xywuoL0bp44hJiSXGg==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Coolife Smiley Face Cute Cup - 16 oz Iced Coffee Cup, Can Shaped Drinking Glass w/Bamboo Lid and Straw - Aesthetic Glass Can Tumbler Cup for Coffee, Smoothie, Beer - Mothers Day Unique Gifts for Women : Home & Kitchen

   URL
   https://www.amazon.com/Coolife-Smiley-Face-Cute-Cup/dp/B0BYNKZ15H/ref=sr_1_103

   Collection Date
   Wed, 26 Apr 2023 05:01:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eRH5a3i2zn5TYOkls1FmWy8NSS4xrty/eOZFo7/hsIFEb2dhfwcGcSKyxBM/mXxylzRo7ag8BtwRBD6SDOcFJA50xBC5RjdnFXUr2GhfnRwwPC0kp3cFqYw4UxGYjWq0jcwFVIpETieNQ4o01e9gRVT7LDlP5Tk210ZqZ9AQwHc=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Coolife-Smiley-Face-Cute-Cup[fs]dp[fs]B0BYNKZ15H[fs]ref=sr_1_103]]_Wed,-26-Apr-2023-05-01-11-GMT.pdf

   Hash (SHA256)
   b33adc5c5f02a1b5add729783bcd06ef3b29239a001369f45469b7d500d3b9d3

   Signature (PKCS#1v1.5)
qABuQ+pdhUDla9RTe6GkslASz++fwAwi043oHynKY8zGHVD/BWo/ONljpTSmV2SDQltcYpBm5LP7JnV74JkUx7XbYtbBkrvs43xDCfKQT7SEnYkkFuLfUKVDd40xM+7bMlyIa9oYkXKa+uMJcpFSpnO/o5RXybv8VsVW2M44abE=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 11:55:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WowyNGZvXXt4pgfKRN3/bTT0jfjc/W1Mw85OiQy7B7cDGzkjWnf/ThKgotOGaEbIdMhh4BO3/A7fjEdeRyU+d2tcWFFIxdqolGRbqEGosc3e0Z8Jy3VYAvuyyTkrtaYYvAK/p2dQ3366Tt0HQt+tCkzgJ/WHQjFsHV
   +8uEJu0NYA7iaMHwX7XQdGqTHHfFbRrGhstT4WNp7GyPk8O7ZAnFXR1n24nmUQWqOaIddYTbrGm3xG1TCE6V4bvvzMOxWMCGVLBw8LH4nAXgj4bEoyKOI9orK33JW5Loa2B7Ypz1l71pChVeB2280KeblRIXlkL1bS2xjnQei24HBMtnhwjw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-11-55-58-GMT.mhtml

   Hash (SHA256)
   57d62bd22424511e42a8d59075a9551e9c59b7e384af24255fe058a95e5fcc34

   Signature (PKCS#1v1.5)
HaMGIrEtJvt2uc6meIHW6y4i+hmJu6LqLOs+ucVffXnWaW/Pmu4qy2zgNQvgrwxtjbwIJM12tD92PtL4okzgAm8OACPDu8L5tFVkWQuOv9hMpsNDulD1FyciMDM/ETaQL7Le9cVMvo4ijFZPI6PZiodewbZwi/YGMpkcjiDLJPtABRVSrgQ5oIjKFJeYGwutG1b
+UemuknABq9PDSr3HV3Dw8lFGMxbrdnaTyQXZS889GZ2nIiUL+fcR/UmG08100tw7NcmJOpD2mtfKxxXpUeqU2uY7Uh0gfMJs6hQ38lEXVa8RtJn5YFrV2GIQJtIarPZlMTMqxAV/xJB9DK+a1w==
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : DREAM ART 1 inch Smiley Face Stickers Roll Happy Face Stickers Circle Dots Paper Labels Reward Stickers Teachers Stickers 1000 Pieces per Roll : Office Products

   URL
   https://www.amazon.com/Smiley-Stickers-Circle-Labels-Teachers/dp/B07KXR8G7N/ref=sr_1_39

   Collection Date
   Tue, 25 Apr 2023 05:13:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   l5t7Gqeoz1mpFpliIfDh3V7kH1/nt1p18GFCdU2z4xBxza3MVQOe1PTypIwo7HtJ2459jFiMyDBy3U03UFqTW/PlDmWRFw0U0zbp4rcGMQIeSWeL38dlYcc8+MhMS4IQvYL2R9r1A9Fe7nesk8VnqRvsqoTV6s931kR1Y/qC8Yc=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Stickers-Circle-Labels-Teachers[fs]dp[fs]B07KXR8G7N[fs]ref=sr_1_39]]_Tue,-25-Apr-2023-05-13-07-GMT.pdf

   Hash (SHA256)
   cb6b3a449ecd4338147469c913d3a118b99302cd0205c74938d621e4be56db1b

   Signature (PKCS#1v1.5)
XuSgnTIodBgvGApl2DEs1lzM7JpwHCVvPx68GoLDjMd+NrhMKonJ/Pho4m9rDiCz+6n5S44UjFutFJAA/CZi15s4VfdFuwfnfLly/yHaD3d8i97hw3iJwrFTDolBv4V653P/7fH2/h6j1jx+2qzKRlgy+VEKtkDegSM81eycO9Q=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                              Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 10:46:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QSxKIb5rIrrGgwvoPbFfCqWLz0neW5oGD341ug/9vvrDTwKL57yTuk3HMWdJr3jDA3Zv2D6VH+tTlSRXRNMug7XXSzijgljXpzsp8sQxIxwB+n3Z8eVA362waeUDFD978hzCWWmhqYDyPHNCiz7Kc3vvPj0VRLE9LI6pa3EEps/uDaC6yddOek5ntrKKBCgpaxRNcsxoofz8L4fj84A7e2/Gt/
   YAYXCpeoZakcDzcW35e66TSUCX5rNH7xbGOIGDwWCiUF2uXAnTnXhmsD0wj/Ej1aqVbhcLj6B8ZxH+UXnZcyhqak34WN3H7gNMOLmhw1/qiUTzvFAvOkBDl1dZCw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-10-46-14-GMT.mhtml

   Hash (SHA256)
   da21774985a2ea9facfc2d3fd8d5317aa7dbccd51ddfa6ca68b26542cfc55451

   Signature (PKCS#1v1.5)
gcMNnYnUb8M8UnAhakgtXnhtE32JjJ/4K0vmboi8wf8SlUNYZ0ud2xwnhe2LWh3ErjVUzfLEhyBHccezy9txoEANMCVWea5DEBQMV+iRzKeTUZxNOY57szOcQE9tqfsrzQesf1VMeTctZTWySmH5ZZ8u/be0R1MkewunjCb5Vh79j3YFebAFc8LFds/cR9mjUr/+oKw71P5D5Wr+cVtas0+LyAK5W6G/
wnId6eDZ4/8L7cJWdDJBrkUyeH9xV0LfGTB+NcRQHnreoltNeDqyLLqDehpjSoeSJEEw8Dq6AXAtG+XuPcCI+O4lioLyXW+ovkdA2efYMFPFMr+fKS82RQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   6 Pairs Cute Smiley Face Socks - Lovely Smile Face Cotton Socks, Autumn Winter Thermal Fun Socks Gifts Crew Socks for Womens Girls Boy at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Pairs-Cute-Smiley-Face-Socks/dp/B0BN59LVVN/ref=sr_1_153

   Collection Date
   Fri, 21 Apr 2023 09:19:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ljHGixw8bEZcu0XWyWgBMioLmAk+qKzwUJas5YFdehJPByTBAPHwxzAPSHm7U02Cfm+hLI3Hm5UV3bGuwLdlDR+uMEFQL8nZRlOU+LDR7KNGSMt829reKcpR5tQ1Ghj6ooeBhyMUbmqsdujG1YMGLDs1zeti9IRy3FduzpNbGgE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pairs-Cute-Smiley-Face-Socks[fs]dp[fs]B0BN59LVVN[fs]ref=sr_1_153]]_Fri,-21-Apr-2023-09-19-43-GMT.pdf

   Hash (SHA256)
   febcce24c8ee46b4419c5c076b6d592fd47b3c0ff0d65117bdd6e4e288dbced7

   Signature (PKCS#1v1.5)
gC1YgJxH/C0I3CvLTUmBxzEwLBvW2xFaTeaL/gIvXYCYJ+4Kml25mAjHgeDZbv3cnrIsl1cc3s6k+6qozbZstAzai/tNuzBBlCwrXTSmKop0BAOnLajIkwGw/m1jUw6yUMrC+x/UuPBxKP1cbjRBVSL8BrjzK1bwHhNuV67v8Es=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 10:53:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nMISa2xiMEERkim5iAnGOZny5DuZcGyP9Rp5mgeuZaORqSzC7HGPcxZ8/WMnkZSgyT9ZYcYo0gU3WAeQDFqQ1o8IF1ZAd8nXE6p3KZZSVR0DWHzsfSv4Ibfm4qpbvHBj1hhx3iyKxrsyKvSRudmQbru3nWXKfbl7/siXCcmiFSD2924aAYj6aaa53U0ST77XoIyUxtZnaGuYbOeGao
   +VbWk/1e1YYA62OCL1Lfq/cZcYIA7ybAAbUxCd8U74T4cvsIGlI9SvScXt0paCOt7vaywJ5aUnVqnPHumdbrEekaV0yTwBZbjcvJjTvKrKc73Ft4MyvvPCoAycTpFjyzTN0w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-10-53-18-GMT.mhtml

   Hash (SHA256)
   597e8fb28e30c466fdcb030ddce7c357bef379e37c922ba8f624460435aa33b0

   Signature (PKCS#1v1.5)
Rp/gveJWhlqAx0ho69Mi3OvC6GkLcAFEU6+1oJKI8b0LHXiBDE6tVfWZyrM4EVh6W5OYs8392ujnwx7oLME3PaXQb1gfL01SMOMemm/UJ0EDbO2R2fATRoA0Nol4JaPc8a0w2nrVO41+GAw64HkHjiF93/2VX9SVeDukQ/qYENjSIvrWBsq9WSnRY5jWbMKD/ularNR68e9E6w7SqwLaRxu
+GRi0ULEMG/fUKzT1D7HmISe0IE6QXiRQo7V9uRISfpxeWswyRWoVrjD5mb5HhMEVxWaNSk2aWphlYCve+LNtlikaknCgHJO3wBlDzGE814rAUUmTTAiQ73Vjk8OGpQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 5 Pairs Cute Smiley Face Socks for Women Ankle Socks Happy Face Embroidery Aesthetic Socks Novelty Funny Socks Size 6-9 (Black & White) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Pairs-Smiley-Embroidery-Aesthetic-Novelty/dp/B0BNB1SR3M/ref=sr_1_78

   Collection Date
   Fri, 21 Apr 2023 08:32:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   M2gFB9zFKZFmc3k5muCf0hQFv5z2oJvyJOAnYl5ByBtf7VLlA+RSFT2GjnqGo+XBOI4Xm6jjGAVEdobA2N+4U7kO38plAtvJQVRSBv3wdxazZ7CUooMruNW/XgU8rqLCAOew6LmUVWm/7CWN7nGZmLdmdz5OIs9qvtihXUsAp+g=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pairs-Smiley-Embroidery-Aesthetic-Novelty[fs]dp[fs]B0BNB1SR3M[fs]ref=sr_1_78]]_Fri,-21-Apr-2023-08-32-12-GMT.pdf

   Hash (SHA256)
   33ed11e820dbec9703e72ff6adc2007d20e35c0f90923bcca409aebc68e1ab00

   Signature (PKCS#1v1.5)
D19S+7BZ2onCM8p8pMZ3zvxRFfhWicPZI0yjpQJaxHaOn/Tb2WLQViqTHdriVCrXfWSOYIFNhiU6uFVRiq/rbuR+J7toRx17U2Pw6tn8xE+l8gVuOYlaporrJz9P3CjpxHn9G71rgf/m0rG11oDdCr4Y0+u2hwbmBVa+CpayZcE=
                                                                                Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 07:09:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bdqMnWm7FCCOqw2eiUKiGDXdMxljaHxmFV02y7k/4os2J4E60ncH365ue8bnSfQS8MLlONtXuXYRvMWdQV80Gjd59S9zVeAqsHBEfkPONyibYiINI0Si0GDJIxwldlVvdhR+X9CupRsgQZIEPtZeQ14S6Fd0rhs45WkEDeMhE5+FR0SAPqjin6L+v8ilGPBWvAQ
   +Lwyicll0IMQO0JLCJyEVeBYlxIw14Hvgp8ScfeuYp+0X88NqTti6D+MC+CdeJfaWaucMs+x7l3XS1YZRttZMw1HSRTAuUgIjpwZW9vwpJEuA72tlBykqocE4RXng/NItLh1tI8ygGzqrqgeQAQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-07-09-40-GMT.mhtml

   Hash (SHA256)
   1ba7ca086307069ee266b8eb83690cdbc82d8ca9768f19053b1543d000820779

   Signature (PKCS#1v1.5)
FO/0dU1txHspz60MDajw4uYU8/Iqwqx0T7R109rUnsa4/H9LvEMyiNBnwJgERLqVtqALvCHA86LcuvPi91p7K8Zx
+afPfAPuT6UhtJMwZax5qhCJ8Nb6q9HdplMmYzIY7cJdD1+RCNUVxSyXhNSamXY0PsgiZjbXK3K3PiGnvgyMyGkNmZMRfAGc3R19deaI59HUbiwbhcRa57rl5DlxRCEFsxazk/7GCatEdKalhxwZozt2ZXurlREVzl7IJBT0rkA/5HEGtTzoq7KgYJ6D5Zmsl3QMyFWABGNYakW6B4tUhQLZ0zGTh5n
uUBTg6zDbEPeNUJ2rmZrM3V+zC8YxAw==
                                                                               Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                               Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ONBAGLST Small Makeup Bags for Women- Corduroy Cosmetic Bag Aesthetic Purse Essentials Smiley face Make up Organizer Storage Travel Cute Pouch(2Pcs) : Beauty & Personal Care

   URL
   https://www.amazon.com/ONBAGLST-Corduroy-Aesthetic-Essentials-Organizer/dp/B0BWRF4TDY/ref=sr_1_117_sspa

   Collection Date
   Thu, 20 Apr 2023 11:37:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Wby/tpgbmDBhjOrl2J3k3FCVB3gP/F4AIYDj/3VuTpLxtEkwTMjLSXcS+mlrvNOu0KmGO95iLTiUDiAeS9kfQ5GzrZBIked20S4pzmxAEAYXeSAWRkeBY86eLhAHKm1sHQs2l9EXtIvV2/p3DxNvk+qUmzq5Zf4QOnjrtAhK5As=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ONBAGLST-Corduroy-Aesthetic-Essentials-Organizer[fs]dp[fs]B0BWRF4TDY[fs]ref=sr_1_117_sspa]]_Thu,-20-Apr-2023-11-37-08-GMT.pdf

   Hash (SHA256)
   2aeade1ad9228aa80d3be912d05c7162c701eaab836efaf41a6d3f93f2605941

   Signature (PKCS#1v1.5)
Sn3m/fgAwSg7PrqRu323ZE4z0RK920GuzWFf5sHNPZbJxyeLrTazmkcw6CnaKog4Fq6Oc8r+mAu365bnE6Jp0/OQ/4v37YJpXxN70ZMvteuSMnQ37mFMIAGrJxjuWGLrp6cHGTklPRJvV5IkImBkO6Dwr4Rj8pYJRh1KqxlClvU=
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 22:53:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kh9G7Y0dhmejra3qhb8HpL24cWxBoQ51bxIKR3Rl4uC28lBVAYkk5h6b1Hn07ykS/5pyDu7yOup87baI8xqw45JXNaot+3kDNBpHHlu1NPYAedmKHuYmjR3PBBCLoHDLta/65/t/AbdKBC5O/sRnDZGpN2rZ+n2LIl8nc9aIBYVMajTrng5kmnwJzq6Lv7rf6jkk/azlLYY9fD
   +8YX3rEfnyb7U7vPOXM1ssoT9QKxSmE25OR6v97k15J/uUehCYN7XvwlQb4zcsiyHSWftlpe6GwPli9n9U/J3IpiS1E9tPbVszcI0ZLGgWQqfzP4T4YMR5NiYa5p4pgyNWu37t0A==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-22-53-18-GMT.mhtml

   Hash (SHA256)
   77c2bf8be7a7ba94e517f9c2b2606a34fda40aa351fe4320cd65e96085bbb5e6

   Signature (PKCS#1v1.5)
RFfwE/sEcrdku2rC6jcQLRuvt3wxDr0q1hVnpPne2owX5FgpJ81AaETU+wopGR+SPr9rwZwP+a4anJoTFD/pR8i+E12qyUsQoulcKQwC9ijxokm6C2rTdCD9StgflZupMeTlrBmaE5Jaorzxqr2/um/xfl2XIPgfiB85d3iPM068q/sSFrkn+OIFMfnWCRWcMlrAIq4p5n7M2BK5OmfE9y
+HoqXXyRSKWFmoc7l4vwgs8ExCNTf2G15+hBkejiL+/ARc3l2ArpCklzFxnuUuaz7z0UY8kxDib/hkAzDpM2YJV3tCS/2KJaPi2s4xwlqhbFgvgbvkR03jI/BKRw6d6g==
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 90 Pcs Happy Birthday Stickers , Smiley Face Sticker ,Round Stickers , Happy Birthday Envelope Round Seal Decorative Label Stickers by CSC@C : Office Products

   URL
   https://www.amazon.com/Birthday-Stickers-Envelope-Decorative-CSC/dp/B071F6Q39R/ref=sr_1_242

   Collection Date
   Thu, 20 Apr 2023 11:01:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bD1knvlf/4GmI1nntM1f/TqmiKw7/C58J18Wgik2HPFtI6hDGiCI0+A7x4fyJpAyEN7m1q8hNYVhsCfsJe7XNd7TSQ5dnYuAegtoEbt5TDtuFf1lGfkWuWCj6QO9j2YJUXuVwFFoA5ldy9eUD8uBp85EeygC7SM5t0+9I2/akvQ=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Birthday-Stickers-Envelope-Decorative-CSC[fs]dp[fs]B071F6Q39R[fs]ref=sr_1_242]]_Thu,-20-Apr-2023-11-01-22-GMT.pdf

   Hash (SHA256)
   15486bb2af74477476cfb4295e555831cd0f48163b2b9aa432dcff3665127caa

   Signature (PKCS#1v1.5)
W6t1ftOGZsuTI0+wQPRhsmjLUOHFh/PeyyaKdiCIyEzoyABp7ckY3sUcr4ag6GOBFkcHqA9T8xBN4GcN1L9WO6MKCIgVX1TSrGkz0RCYLzuPPUEf18Rkx00nvauXYdDgo3cLqa6WUH/RsOYheVuOxJN6tXlmtMT0LkM58WkC4wo=
                                                                                 Case 0:23-cv-61203-AHS Document 35-3 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                     Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 10:38:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FqGvaxk8HOh9wXPdvdd0ivHogq4pJCqz6xn61QJ/5oZreq55SePQCuLjyotsvyfQ7ThvNCXdtVZ5An/aDRoBl7tr5A1dw0KtNSg3Zhd8hQx17xKbfifFe/70MUkJhLCEWdtpgXf8vIvX9OZnQfpis7OKkUxu1HQGVUtdGLfw9Y+3APGumFgMR4+6wY5fDq/
   a4xSsLyRSlzQqEvT6lmR8d4DA5fev7ZjdJyAVTeYtq7dAst5a7YGSxVQfKLmuNbmbHMla7d5nx7ZBiyMNK8mz5mXXusFuJwKJQeQIeMWmRtayywgo/Krv/MaWKnGChQ8NJ9UftFsXFEEdGYJM2Wm+KQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-10-38-44-GMT.mhtml

   Hash (SHA256)
   e8d6bee26e99e8c23adb9d7d7704725cbbfad96c9eeb614ce9be1d45eb168695

   Signature (PKCS#1v1.5)
n0OTe6gpCUFeQVrYMjwD8EQldhGT7RSk/uWPAYTZhKbXg3AdQBUz530IURkS0MdRzsd3uUAgIvcLDb39jTJqoqA/bzpQsnU4eDsGeuHNngQXyNzlp5I7gV+7hp/3DnRk/r9vt8CsNEP2FAoWSCh659JRySaL7Ynyb+YhfvyGq91Zf5SYOzwbMQwcCO0pP4VeYT
+EyKUDXWmGL9OmzjbcZ9T8zkte5VxBznHWqvR7i2VQQv1gAIoDUJ87vGbFyvI8isQpUJbHeXJbhFxNDB35gAEUa2Zv1mXhNSrWr/o5nH+DgKVuBvLJgAoONCj1OeeuHBqf4U16NGtAneh/1KeAqQ==
